                        UNITED STATES DISTRICT COURT
                                                for
                    EASTERN DISTRICT OF NORTH CAROLINA 

                             WESTERN DIVISION 


U.S.A. vs. William Frazier, III 	                                   Docket No. 5:04-CR-25-1BO

                         Petition for Action on Supervised Release

        COMES NOW Scott Plaster, probation officer of the court, presenting a petition for
modification of the Judgment and Commitment Order of William Frazier, III, who, upon an earlier
plea of guilty to Possession With Intent to Distribute More Than Five Grams of Cocaine Base and
Use of a Firearm During and in Relation to a Drug Trafficking Offense, in violation of 21 U.S.C. §
841(a)(I) and 18 U.S.C. § 924(c)(1), was sentenced by the Honorable Terrence W. Boyle, U.S.
District Judge, on June 24,2004, to the custody ofthe Bureau of Prisons for a term of 120 months.
It was further ordered that upon release from imprisonment the defendant be placed on supervised
release for 60 months under the standard conditions adopted by the court and the following
additional conditions:

1. 	   The defendant shall participate as directed in a program approved by the probation office for
       the treatment of narcotic addiction, drug dependency, or alcohol dependency which will
       include urinalysis testing or other drug detection measures and may require residence or
       participation in a residential treatment facility.


       William Frazier, III was released from custody on August 23,2012, at which time the term
of supervised release commenced.

    RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR
CAUSE AS FOLLOWS:

        On November 8, 1989, the defendant was convicted of the offense of Attempted Second
Degree Rape, at which time he was sentenced to six years imprisonment. The defendant was
released from prison on March 5, 1997, following the completion of this sentence and other
sentences for which he was ordered to serve periods of imprisonment. As a result of the defendant
being released after January 1, 1996, he is required to comply with the North Carolina sex offender
registration requirements. Accordingly, the probation office is asking that the defendant's conditions
of supervised release be modified to include warrantless searches and the NCE Sex Offender
Program. The defendant signed a Waiver of Hearing agreeing to the proposed modification of
supervision.

        PRAYING THAT THE COURT WILL ORDER that supervised release be modified
as follows:




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1. 	   The defendant shall participate in mental health/sex offender treatment, evaluation testing,
       clinical polygraphs and other assessment instruments as directed by the probation officer.
       While under supervision in the Eastern District ofNorth Carolina, the defendant shall further
       abide by the rules and regulations of the NCE Sex Offender Program.

2. 	   The defendant shall submit to a search of his person, house, residence, vehicle, papers,
       computer, other electronic communication or data storage devices or media, and effects at
       any time, with or without a warrant. The search may be conducted by any law enforcement
       officer or probation officer with reasonable suspicion concerning a violation of a condition
       ofsupervision or unlawful conduct by the person, and by any probation officer in the lawful
       discharge of the officer's supervision functions.

3. 	   The defendant shall comply with the registration requirements of the Sex Offender
       Registration and Notification Act of2006, as directed by the probation officer.

       Except as herein modified, the judgment shall remain in full force and effect.


Reviewed and approved, 	                             I declare under penalty of perjury that the
                                                     foregoing is true and correct.


 Is/Jeffrey L. Keller                                 Is/Scott Plaster
Jeffrey L. Keller                                    Scott Plaster
Supervising U.S. Probation Officer                   U.S. Probation Officer
                                                     310 New BemAvenue, Room 610
                                                     Raleigh, NC 27601-1441
                                                     Phone: (919) 861-8660
                                                     Executed On: September 4,2012


                                      ORDER OF COURT

Considered and ordered this   ..s-    day off>r~
made a part of the records in the above case.
                                                                    , 2012, and ordered filed and




~¥
U.S. District Judge




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